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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA



UNITED STATES OF AMERICA,

                      Plaintiff,
                                                  Case Number: 8:14CB8-TDT
       vs.                                        Violation Number: 0984484-NE55

                                                                   ORDER
MACKENZIE HOFFER,

                      Defendant.


              On the motion of the United States Attorney=s Office, the above-referenced matter

is hereby dismissed without prejudice.


              ORDERED this 4th day of September, 2014.


                                           BY THE COURT:

                                           s/ Thomas D. Thalken
                                           United States Magistrate Judge
